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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:22-CR-00309-ADA-BAM
11
                                  Plaintiff,
12
                            v.
13
     LUIS MAURICIO CASTENON,                              STIPULATION AND PROTECTIVE ORDER
14
                                  Defendant.
15

16

17          WHEREAS, the discovery in this case involves information, including documentation,

18 photographs, audio recordings, and video recordings, related to a confidential informant whose safety

19 may be compromised if their identity were disclosed (the “Protected Information”); and

20          WHEREAS, the parties desire to have the Protected Information produced to undersigned

21 defense counsel;

22          The parties agree that entry of a stipulated protective order is appropriate.

23          THEREFORE, Luis Mauricio Castenon (“Defendant”), by and through their new counsel of

24 record, Anthony P. Capozzi (“Defense Counsel”), and the United States of America, by and through

25 Assistant United States Attorney Jessica A. Massey, hereby agree and stipulate as follows:

26          1.     This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

27 Criminal Procedure, and its general supervisory authority.

28          2.     This Order pertains to the Protected Information, the Bates numbers pertaining to which


      STIPULATION FOR PROTECTIVE ORDER                    1
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 1 will be specified when produced to Defense Counsel (“the discovery”). This Order also relates to any

 2 verbal communications between the government and Defense Counsel about the confidential informant.

 3 3.       By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 4 documents, recordings, or other information, verbal or written, that contain Protected Information with

 5 anyone other than defense investigators and support staff. Defense Counsel may permit Defendant to

 6 review un-redacted documents in the presence of their attorney, defense investigators, and support staff.

 7 The parties agree that Defense Counsel, defense investigators, and support staff (the “defense team”)

 8 shall not allow Defendant or anyone else outside of the defense team to copy or retain Protected

 9 Information contained in the discovery.

10          4.      The discovery and information therein may be used only in connection with the litigation

11 of this case and for no other purpose. The discovery is now and will forever remain the property of the

12 government. Defense Counsel will return the discovery to the government or certify that it has been

13 destroyed at the conclusion of the case.

14          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

15 ensure that it is not disclosed to third persons in violation of this agreement.

16          6.      Defense Counsel shall be responsible for advising Defendant, employees, other members

17 of the defense team, and defense witnesses of the contents of this Stipulation and Order.

18          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

19 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

20 this Order.

21          8. Defense Counsel reserves the right to later seek to have the terms of this Order modified or

22 revoked. Defense Counsel agrees to return the discovery to the Government in its complete form if the

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      STIPULATION FOR PROTECTIVE ORDER                    2
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 1 terms of this Order are modified or revoked if so requested by the United States.

 2          IT IS SO STIPULATED.

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            DATED: May 16, 2023                         PHILLIP A. TALBERT
 4                                                      United States Attorney
 5
                                                        By: /s/ Jessica A. Massey
 6                                                      JESSICA A. MASSEY
                                                        Assistant U.S. Attorney
 7

 8
            DATED: May 16, 2023                         By: /s/ Anthony P. Capozzi
 9                                                      ANTHONY P. CAPOZZI
                                                        Attorney for Defendant
10                                                      LUIS MAURICIO CASTENON

11
     IT IS SO ORDERED.
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13      Dated:    May 20, 2023                              /s/ Barbara A. McAuliffe   _
14                                                   UNITED STATES MAGISTRATE JUDGE

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      STIPULATION FOR PROTECTIVE ORDER                 3
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